                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 CANDICE RANA SULFRIDGE,                   )
                                           )
                    Plaintiff,             )
                                           )
 v.                                        )     No. 3:05-CV-188 and 191
                                           )     (Phillips/Guyton)
 JOHN HUFF, et al.,                        )
                                           )
                    Defendants.            )
 _____________________________________________________________________________

 ADAM TRAVIS DAVIS,                                     )
                                                        )
                        Plaintiff,                      )
                                                        )
 v.                                                     )
                                                        )
 JOHN HUFF, et al.,                                     )
                                                        )
                        Defendants.                     )


                                 MEMORANDUM AND ORDER

                This matter came before the undersigned on June 13, 2007, for a conference call

 regarding discovery issues, particularly, the plaintiffs’ desire to take depositions on June 14 and 15,

 2007. Attorneys Herb Moncier, Robert Watson, and Mary Ann Stackhouse participated in the call.

 The Court took the matters raised under consideration.

                The Court finds that its Order of May 3, 2007 [Doc. 178] stayed all discovery in this

 case, including any depositions sought to be taken by the plaintiffs, pending the District Court’s

 ruling on the motion based on a defense of qualified immunity, unless the discovery sought to be

 taken is shown to be limited discovery specifically tailored to the issue of qualified immunity. No

 such discovery showing has been made.




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                Accordingly, all discovery in this case is STAYED. [Doc. 178]. The District Court

 will rule on the qualified immunity issue, and, at that time, also schedule a status conference of all

 parties to address discovery needs and scheduling. At that status conference, the plaintiffs will be

 given a reasonable extension of time to respond to pending motions for summary judgment, if

 needed. The District Court’s trial date of March 10, 2008, remains in place at this time.

                IT IS SO ORDERED.
                                                       ENTER:


                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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